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 2                                                               The Honorable John C. Coughenour

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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8   UNITED STATES OF AMERICA,
                                                         No. CR19-259 JCC
 9                  Plaintiff,
10          v.                                           MOTION TO CONDUCT REMOTE
                                                         SENTENCING HEARING
11
     RYAN HERNANDEZ,
                                                         Note for Consideration:
12                                                       October 30, 2020
                    Defendant.
13

14          I.      Introduction

15          Defendant, Ryan Hernandez, respectfully moves this Court to conduct the sentencing
16   hearing, scheduled before this Court for Tuesday, November 17, 2020, at 11:00 a.m., by video
17
     conference under the procedures outlined in General Order No. 04-20.
18
            II.     Facts
19
            Ryan Hernandez is 21 years old. He resides with his parents in Palmdale, California (just
20
     north of Los Angeles). Mr. Hernandez has been diagnosed with Autism Spectrum Disorder
21
     (ASD), Social Communication Level 2, Restricted, Repetitive Behaviors Level 2, with
22
     accompanying language impairment, without accompanying intellectual impairment and
23
     Adjustment Disorder. These conditions have resulted in an additional condition called selective
24

25   mutism, wherein Mr. Hernandez only speaks to a very limited number of people, generally those

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     with whom he is very familiar. Mr. Hernandez relies heavily on his parents, and is unable to
 1
     function independently in most typical aspects of daily life. He has always lived with his parents
 2

 3   and has never been employed.

 4             Mr. Hernandez appeared for an initial appearance and plea in this matter on January 31,

 5   2020, just prior to the onset of the pandemic. He, his parents, and his primary counsel, Sara

 6   Caplan, all traveled from the Los Angeles area to Seattle for the plea hearing. At this point, given
 7   the ongoing pandemic, the difficulty of travel, and of course Chief Judge Martinez’s related orders
 8
     limiting in-person appearances, Mr. Hernandez is not able to appear in person sentencing as
 9
     presently scheduled.
10
               Mr. Hernandez strongly desires to move forward with his sentencing hearing as currently
11
     scheduled. He entered guilty pleas to two felonies nine months ago. He faces significant
12
     consequences as a result of those guilty pleas. Mr. Hernandez experiences daily stress and anxiety
13
     contemplating the results of his sentencing hearing, and would suffer additional and significant
14

15
     stress should the sentencing hearing be continued again. Mr. Hernandez is more than willing to

16   waive his right to in-person appearance at his sentencing and will file a written waiver to that

17   effect.

18             III.   Argument

19             General Order 04-20 provides that hearings may proceed by video if “the district judge in
20
     a particular case finds for specific reasons that the plea or sentencing in that case cannot be further
21
     delayed without serious harm to the interests of justice.”
22
               The Court should allow the sentencing hearing in this case to proceed by videoconference
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     because the failure to do so would result in serious harm to the interest of justice. Mr. Hernandez
24
     has already been waiting nine months to learn his fate in this matter.              He faces serious
25

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     consequences and an uncertain future. The uncertainty related to these unknown consequences
 1
     causes real negative effects on Mr. Hernandez in terms of stress and anxiety, which are
 2

 3   exacerbated by his mental health conditions. In other words, he is already in some ways being

 4   punished for his actions. And, because these impacts are not accounted for in the traditional

 5   sentencing analysis, any further delay would seriously harm the interests of justice.

 6          IV.     Conclusion
 7          For the foregoing reasons, Mr. Hernandez respectfully requests that the Court grant his
 8
     request to appear for his sentencing by way of a remote hearing under the procedures outlined in
 9
     General Order 04-20.
10
            Respectfully submitted this 30th day of October, 2020.
11
                                                   LAW OFFICE OF SARA L. CAPLAN
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13                                                 s/ Sara L. Caplan
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